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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA




   GARY BLITCH, DAVID KNIGHT, and                CIVIL ACTION NO.: 16-17596
   DANIEL SNYDER,
                                                 JUDGE: AFRICK
                                   Plaintiffs,
                                                 MAGISTRATE JUDGE: ROBY
                       v.

   The CITY OF SLIDELL; FREDDY
   DRENNAN, in his official capacity; and
   EUGENE HOWARD, in his official
   capacity,

                               Defendants.


                  MEMORANDUM IN OPPOSITION TO
            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


      Plaintiffs submit this reply Memorandum in opposition to Defendants’

Motion for Summary Judgment. Defendants’ motion further emphasizes that they

are wrong on the both the law and the facts. Slidell City Code § 11-207 (the

“Ordinance”) is not, as Defendants contend, a reasonable regulation of solicitation

needed to protect public safety. Instead it is both a prior restraint and a content-

based restriction that prohibits a protected form of speech by criminalizing it when

expressed without a permit. Public safety is not a justification for such an

abrogation of rights except in limited circumstances that do not apply here.

Moreover, the “compelling public safety need” that Defendants cite is spurious, as

evidenced by the police reports on which they rely.
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    I.       The First Amendment protects panhandling

          Defendants disingenuously question whether panhandling is protected

speech, saying the United States Supreme Court has not recognized it as a

protected constitutional right and claiming that “no controlling jurisprudence”

requires that it be protected.1 As a threshold matter, the broad safeguards of the

First Amendment apply to all speech unless it is specifically excluded. See Williams-

Yulee v. Fla. Bar, 135 S. Ct. 1656, 1676 (2015) (“Our cases hold that speech enjoys

the full protection of the First Amendment unless a widespread and longstanding

tradition ratifies its regulation.”)

          As the Fifth Circuit has noted, the Supreme Court excludes from full

constitutional protection only narrow categories of speech: obscenity; child

pornography; fighting words/incitement; libel, defamation, and fraud. Herceg v.

Hustler Magazine, Inc., 814 F.2d 1017, 1020 (5th Cir. 1987). Defendants do not

suggest that panhandling belongs in one of those narrow categories or that it is

undeserving of protection. Nor has any federal appeals court decided that soliciting

alms is unprotected speech; on the contrary, several appellate courts have held

expressly that it is. See Rec. Doc. 29 at 4.

          The overwhelming weight of authorities—and logic—are controlling on this

question.


1
 Although the Supreme Court has not explicitly decided whether the First Amendment protects soliciting alms
when done by an individual, it has repeatedly upheld charitable solicitation by groups. See Speet v. Schuette, 726
F.3d 867, 874 (6th Cir. 2013). In fact, the Court has not given any indication that a distinction between individuals
and groups is necessary on this point. See Vill. of Schaumburg v. Citizens for a Better Env’t, 444 U.S. 620, 632
(1980) (“[C]haritable appeals for funds, on the street or door to door, involve a variety of speech interests … that are
within the protection of the First Amendment.”).


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    II.      Slidell’s Ordinance is discriminatory, content-based censorship

          Defendants concede that Slidell’s Ordinance is content-based, stating

alternately that it is “arguably content-based,” “likely to be considered content-

based,” “technically content-based,” and “necessarily content-based.” See Rec. Doc.

30-1 at 7, 10, 11, 13. Nowhere do Defendants assert that the Ordinance is content-

neutral. Instead, they claim it is viewpoint neutral because it “does not restrict

what an applicant may say” or how he chooses to say it.

          Because the Ordinance is a content-based restriction, it is by definition a

prior restraint. It operates as a prohibition because it criminalizes such speech for

those who don’t first get a permit.2 Those who wish to solicit alms but do not have a

permit (whether they are unable or unwilling to obtain one) may be afraid to do so,

thus having their speech rights chilled. Their expression is thereby censored.

          Defendants contend that the Ordinance is viewpoint neutral because “all

solicitation is treated equally” under Slidell’s Municipal Code, which requires

registration and/or permitting for “any type of solicitation activity.” Sec. 20-4

(“Licensing; exceptions”). First, the various other provisions of the Slidell Municipal

Code are not challenged here. Second, § 20-4 applies to business conducted “as a

peddler or solicitor.” It does not address “panhandling,” or § 11-207 would be

redundant. Finally, Defendants argue that “panhandling is not singled out for

permitting,” but Slidell’s enactment of separate regulations that define and restrict

“panhandling” do just that. See Slidell Municipal Code §§ 11-207, 11-207.1.

2
 Violation of the Ordinance is punishable by a maximum of six months in jail and a $1,000 fine. Slidell Municipal
Code § 1-12.


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       Although the Ordinance does not facially discriminate against certain

viewpoints, the fact that it regulates a form of speech based on its content (i.e.

requests for aid) makes it discriminatory. The Ordinance restricts a panoply of

expression subsumed in the solicitation of alms. Although “begging does not always

involve the transmission of a particularized social or political message, it seems

certain that it usually involves some communication of that nature.” Loper v. New

York City Police Dep’t, 999 F.2d 699, 704 (2d Cir. 1993). “Even without

particularized speech, however, the presence of an unkempt and disheveled person

holding out his or her hand or a cup to receive a donation itself conveys a need for

support and assistance.” Id. This is precisely the image—and its concomitant

political message—that Slidell seeks to restrict, and thereby marginalize. By

regulating this activity, Slidell discriminates against impoverished people and

censors their message of need.

   III.   Slidell’s Ordinance does not serve “public safety”

       Defendants contend that Slidell’s Ordinance was enacted to further “a

compelling government interest of public safety,” but a vague, insubstantial threat

to public safety is not legally sufficient to justify the restriction it imposes. As the

Fifth Circuit has noted, a “clear and present danger to the public safety is required

to justify a restriction on the First Amendment right to free speech.” St. Ann v.

Palisi, 495 F.2d 423, 427 n. 21 (5th Cir. 1974). Moreover, the alleged “threat” to

safety is demonstrably non-existent. Defendants cite “public safety issues caused by

an increased number of panhandling related complaints” in Slidell, but they do not



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identify what safety threat, specifically, is posed by the solicitation of alms. They

also allude to “great concern about public safety among the citizenry and fear

among business owners … that excessive panhandling may hamper local business.”

Rec. Doc. 30-1 at 16. This is the only “harm” identified, but it is speculative and

unsupported.3

        Slidell residents’ “concern” about panhandling does not make it a problem,

much less a threat to public safety threat (or business). It certainly does not justify

restricting First Amendment rights of an entire category of people. Slidell Police

Department reports submitted with Defendants’ motion as exhibits clearly show

that the “threat” in no way rises to the level that justifies a restriction on

Constitutionally protected activity.”4 The fact that people who ask for help annoy

some residents is simply not sufficient to justify the Ordinance.

        Viewed as a whole, Slidell police reports belie several of Defendants’

arguments: The “panhandling problem” does not threaten public safety, complaints

are not increasing, and the “inability to identify panhandlers” is not increasing. In

the 70 reports in Exhibit 6C, the only threat to public safety identified involves

complaints of aggressive begging and persons in roadways, both of which are

proscribed by measures other than the permit requirement (see Slidell Municipal




3
  The statement is appended with a footnote, but Defendants omit its referent (Footnote No. 33) from their motion.
4
  For example, one complaint made by a resident on December 23, 2016 describes “two black male transients
walking up to cars begging for money.” Rec. Doc. 30-6 at 224. The complainant “wanted to report the incident
because she does not think people should be allowed to beg in Slidell.” Id. The report concludes, “There was no
indication that the two transients were aggressively begging.” Id.


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Code § 11-207.1, “Aggressive begging” and § 11-207.2, “Solicitors on public

highways”). Many of these complaints were unfounded.5

         Defendants admit that the number of arrests for panhandling has decreased

over the past five years but attribute this decrease to the “increasing inability to

identify panhandlers[.]” On the contrary, careful examination of the police reports

submitted in Exhibit 6C shows that officers identified subjects in about half of the

70 complaints.6 Police were unable to identify subjects only when they were unable

to locate them, typically because the alleged panhandlers had left the area by the

time officers arrived. Several of these reports indicate police did not investigate

until several hours or days after the complaints were made. The alleged “inability to

identify panhandlers” is not increasing.

         Notably, 47 of the complaints in Exhibit 6C were reported in 2015, compared

to 20 in 2016—a 57 percent decrease. Defendants allege “a rise in panhandling” by

comparing complaints from 2015 to present (Exhibit 6C) to total arrests since 1997

(Exhibit 5A). This is not an apples-to-apples comparison; the arrest reports do not

include overall complaints, and Defendants do not supply panhandling complaints

before 2015. The reports included in Exhibit 5A show three arrests in 2014, three

arrests in 2015, and one in 2016. See Rec. Doc. 30-3 at 19-20. They do not show “79

5
  For example, when an officer investigated a complaint of aggressive begging on Feb. 3, 2015, he found the subject,
who was standing on the median, “was not aggressively begging.” Rec. Doc. 30-6 at 32. On November 13, 2015, an
officer investigated a complaint of several males in the roadway and found one on the median with two sitting under
a tree; the subjects “did not enter street[.]” Rec. Doc. 30-6 at 153.
6
  Police made contact with the subject of the complaint in 33 of 70 of the reports, as evidence by their descriptions
of “dispersing” the subjects or “advising” them, regardless of whether the subjects are identified by name. Police
apparently did not respond to the scene or attempt to locate the subjects for every complaint. See Rec. Doc. 30-6 at
174. (“Complainant advised there was an older white male asking for money at the intersection. Officer advised
complainant as long as the subject wasn’t being aggressive they could ask for money.”).


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arrests for panhandling solicitation offenses” as Defendants claim but a variety of

charges including aggressive begging and solicitation. Notably, several “solicitation”

charges involved allegedly attempted sales such as door-to-door selling of magazines

and cleaning products, sales of popcorn and trinkets at parades, and sales of toys at

City Hall. See Rec. Doc. 30-3 at 14.

         Regardless, it is telling that none of the 70 complaints since 2015 involved

arrests, injuries, or accidents. In those cases, police officers typically discovered no

violation, “dispersed” the subject(s), or could not locate them. The complaints in

Exhibit 6C demonstrate that “panhandling” typically involves peaceful speech that

poses no threat to public safety. Assuming arguendo that people soliciting alms

commit crimes, Slidell has ample remedies through the enforcement of criminal

laws. It need not criminalize speech to address its purported problem.

   IV.      Slidell’s Ordinance is not narrowly tailored

         Defendants argue that Slidell’s Ordinance imposes a “simple permit scheme”

that simply requires people who solicit alms to “wear what amounts to a nametag.”

The “nametag” allegedly “remedies the situation in which a person is engaged in

panhandling but refuses to leave . . . is obstructing traffic, or has become overly

aggressive and flees the scene once a police complaint has been made[.]” But to be

clear, this lawsuit is not about “aggressive” panhandling or obstructing traffic.

Those arguments are irrelevant to the issues here, which address only the

restrictions on those who are peacefully standing on public property.




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        The law is clear that any restriction on protected speech rights is not

“minimal.” Elrod v. Burns, 427 U.S. 347 (1976) (“The loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.”) (citation omitted). The needless permit process is burdensome, requiring

two trips to the Police Department; the applicant must supply personal information

and documents simply to engage in speech. Finally, the “nametag” is a permit that

the applicant “must keep displayed on his or her chest, hanging from a lanyard or

clipped to their garment” with name and expiration date visible “at all times.” Sec.

11-207 (d). This is not a nametag but a brand, and it does not “remedy” the alleged

problem. As Exhibit 6C demonstrates, police did not need “nametags” to disperse

complaint subjects or caution them against aggression and traffic obstruction.

        Requiring people to wear a nametag will do nothing to cure whatever alleged

problems may confront Slidell. According to Defendants’ own records, the only

instances in which Slidell police could not “identify” the subjects of panhandling

complaints occurred when the subjects were no longer on the scene upon an officer’s

arrival. More important, nothing indicates that forcing people to wear their names

on signs would make them more identifiable. In short, Defendants have not shown

that the Ordinance is narrowly drawn to protect Slidell’s purported interest in

safety, or that the need exists or would justify a restriction on Constitutional rights.

   V.      Slidell’s Ordinance is unreasonable

        Defendants assert that Slidell’s Ordinance “does not impose traditional prior

restraint tactics” because it is a permit scheme. But “it is settled by a long line” of



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Supreme Court decisions that “an ordinance which, like this one, makes the

peaceful enjoyment of freedoms which the Constitution guarantees contingent upon

the uncontrolled will of an official … is an unconstitutional censorship or prior

restraint[.]” Shuttlesworth v. Birmingham, 394 U.S. 147 (1969). Because Slidell’s

Ordinance makes the exercise of free speech contingent on the police chief’s will, it

is a prior restraint.

       Defendants contend that the Ordinance is not subject to unbridled discretion,

but they ignore the obvious abuse of discretion that the Ordinance allows. The chief

can deny a permit if the applicant fails a “background check” for having been

“convicted of violating begging or panhandling ordinances within the 12 months

prior to the application date” or for other criminal violations. Sec. 11-207(b)(2). In

other words, Slidell believes it may deny First Amendment rights to a person who

allegedly has committed a misdemeanor. However, even imprisoned felons do not

lose their freedom of speech. See Burnette v. Phelps, 621 F. Supp. 1157, 1160 (M.D.

La. 1985) (citing Pell v. Procunier, 417 U.S. 817 (1974)).

       The chief also may deny a permit if an application contains a false,

fraudulent, or misleading statement. Sec. 11-207(b)(1), 11-207(c)(5).. Among the

information required in an application is the applicant’s “address, telephone

numbers, and e-mail addresses, and any other information needed to establish the

applicant’s identity.” Sec. 11-207(b). As Plaintiffs have noted, such information may

not be available to a destitute person who may have no fixed address. Presumably,

if a homeless applicant provided the address of a street where she stays, without a



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residence, the chief could deem that statement false or misleading. More important,

the chief of police has unfettered discretion under the Ordinance to deem any

statement “misleading,” as the term is not defined and has no objective criteria.

      Finally, Defendants rely on cases of door-to-door solicitation to justify their

ban. But unlike speech in a public forum that “takes place before an audience that

chooses to be there, door-to-door canvassing may infringe upon privacy rights of

other persons because it involves the uninvited entry upon private property[.]” Ass’n

of Cmty. Orgs. for Reform Now v. Town of E. Greenwich, 453 F. Supp. 2d 394, 401

(D.R.I. 2006). Moreover, these cases and others cited in Defendants’ motion were

decided before Reed v. Town of Gilbert, Ariz., 135 S. Ct. 2218 (2015), which directs

that strict scrutiny applies in this case. See Rec. Doc. 29 at 9-12.

                                    CONCLUSION

      Slidell’s Ordinance is not a reasonable time, place, and manner restriction;

nor is it narrowly tailored. The vague “public safety” interest that Defendants

assert is neither compelling nor served by the Ordinance. The Ordinance is a prior

restraint and a content-based restriction on speech. For these and the foregoing

reasons, Defendants’ Motion for Summary Judgment must be denied.

                                  Respectfully submitted by:

                                  /s/ Bruce Hamilton
                                  Bruce Hamilton, La. Bar No. 33170
                                  ACLU Foundation of Louisiana
                                  P.O. Box 56157
                                  New Orleans, Louisiana 70156
                                  Telephone: (504) 522-0628
                                  Facsimile: (888) 534-2996
                                  Email: bhamilton@laaclu.org

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                                 RONALD L. WILSON, La. Bar No. 13575
                                 ACLU Foundation of Louisiana
                                 COOPERATING ATTORNEY
                                 701 Poydras Street – Suite 4100
                                 New Orleans, Louisiana 70139
                                 PH:     (504) 525-4361
                                 FAX: (504) 525-4380
                                 Email: cabral2@aol.com


                           CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2017, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send a notice of
electronic filing to all CM/ECF participants.

Dated :      May 9, 2017         /s/ Bruce Hamilton
                                 Bruce Hamilton




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